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    Counsel for UBS Securities LLC and
    UBS AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1 §                         Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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 PLAINTIFFS’ MOTION TO COMPEL AND RESPONSE TO MOTION OF FORMER
                  EMPLOYEES TO QUASH SUBPOENAS

       UBS Securities LLC and UBS AG London Branch (together, “UBS”), plaintiffs in the

above-captioned adversary proceeding (the “Adversary Case”) and creditors in the above-

captioned chapter 11 case (the “Bankruptcy Case”), by and through their undersigned counsel,

hereby move the Court (the “Motion to Compel”) for entry of an Order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), (i) compelling Scott Ellington, Isaac

Leventon, Matthew DiOrio, JP Sevilla, and Katie Lucas (the “Former Employees”) to comply with

the Subpoenas to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding and

Subpoenas to Produce Documents, Information, or Objects or to Permit Inspection in a

Bankruptcy Case or Adversary Proceeding (together, the “Subpoenas”) by producing documents

and deposition testimony and (ii) denying the Motion of Former Employees to Quash Subpoenas

and Brief in Support (Dkt. No. 70) (the “Motion to Quash”). In support of this Motion to Compel,

UBS respectfully states as follows:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction to consider this Motion to Compel pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                      RELIEF REQUESTED

       3.      By this Motion to Compel, UBS respectfully requests entry of an Order compelling

the Former Employees to comply with the Subpoenas by producing documents and deposition

testimony and denying the Motion to Quash.

       4.      As set forth more fully in the Memorandum of Law in Support of Plaintiffs’ Motion

to Compel and Response to Motion of Former Employees to Quash Subpoenas (the “Memorandum
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of Law”) and the Declaration of Sarah A. Tomkowiak in Support of Plaintiffs’ Motion to Compel

and Response to Motion of Former Employees to Quash Subpoenas (the “Tomkowiak

Declaration”) (as set forth in the Appendix of Exhibits in support of Plaintiffs’ Motion to Compel

and Response to Motion of Former Employees to Quash Subpoenas (the “Appendix”)), filed

contemporaneously with this Motion to Compel, each of the Former Employees was served with

deposition and document subpoenas more than a month ago and they and/or their counsel had

notice of the Subpoenas as early as seven weeks ago. Since that time, UBS has extended the

deadline for compliance multiple times, yet the Former Employees have failed to comply with any

of the Subpoenas and have refused to even set a single date by which any of the Former Employees

would fulfill his or her discovery obligations to produce documents or sit for deposition. UBS has

repeatedly sought to find mutually agreeable dates and accommodate the Former Employees, all

to no avail.

        5.     UBS is seeking discovery from the Former Employees in connection with its

request for injunctive relief in the Adversary Case. The Court entered an Order Granting

Plaintiffs’ Motion for a Temporary Restraining Order [Adv. Dkt. No. 21] (the “TRO Order”) on

April 9, 2021; however, the TRO Order remains in place only until this Court’s decision on UBS’s

requested preliminary injunction. In order to present evidence at a hearing on such motion, UBS

needs an opportunity to seek discovery from the Former Employees—who were heavily involved

in orchestrating the fraudulent conduct underlying the Adversary Case.

        6.     Based on the facts and argument set forth in the Memorandum of Law and the facts

set forth in the Tomkowiak Declaration and exhibits attached thereto, UBS is entitled to the relief

requested in this Motion to Compel as set forth in the Proposed Order.

                                            NOTICE

        7.     Notice of the Motion to Compel shall be provided to (i) the Debtor and counsel to
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the Debtor; (ii) counsel to the official committee of unsecured creditors; (iii) the United States

Trustee; (iv) counsel to the Former Employees; and (v) all other parties registered to receive ECF

notifications in this Adversary Case. UBS submits that such notice is sufficient and no further

notice of the Motion to Compel is required.

                                        CONCLUSION

       WHEREFORE, UBS respectfully requests that the Court (i) enter an Order substantially

in the form of the Proposed Order attached hereto as Exhibit A granting the relief requested herein

and denying the Motion to Quash; (ii) granting UBS attorneys’ fees and expenses related to the

Motion to Compel; and (iii) grant UBS such other and further relief as the Court may deem proper.


                        [Remainder of this page intentionally left blank.]
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Dated: May 20, 2021                       Respectfully submitted,

                                          /s/ Andrew Clubok

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                              CERTIFICATE OF CONFERENCE

          The undersigned certifies that, on May 19, 2021, counsel for UBS conferred with counsel

for the Former Employees regarding the relief requested in the Motion to Compel. Counsel for

the Former Employees indicated that the Former Employees do not support the relief sought

herein.


          Dated: May 20, 2021

                                                            /s/ Andrew Clubok
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                                 CERTIFICATE OF SERVICE

       I, Martin A. Sosland, certify that Plaintiffs’ Motion to Compel and Response to Motion of

Former Employees to Quash Subpoenas was filed electronically through the Court’s ECF system,

which provides notice to all parties of interest.


       Dated: May 20, 2021

                                                            /s/ Martin A. Sosland
                                                            Martin A. Sosland
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                                  EXHIBIT A

                              PROPOSED ORDER
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 2 §                         Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------
           ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL AND
        DENYING MOTION OF FORMER EMPLOYEES TO QUASH SUBPOENAS


2
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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           Upon consideration of Plaintiffs’ Motion to Compel and Response to Motion of Former

Employees to Quash Subpoenas (the “Motion to Compel”) 3 filed by UBS Securities LLC and UBS

AG London Branch (together “UBS”), along with the Memorandum of Law, Tomkowiak

Declaration, and Appendix filed in support of the Motion to Compel and the Motion of Former

Employees to Quash Subpoenas and Brief in Support (the “Motion to Quash”) (Dkt. No. 70)

(collectively with the Motion to Compel, the “Motions”); and it appearing that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this

proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue of this

proceeding and the Motions is proper in this District pursuant to 28 U.S.C. §§ 1408-1409; and due,

adequate, and sufficient notice of the Motions having been given; and having determined that the

legal and factual bases set forth in the Motion to Compel establish good cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor it is hereby ORDERED:

           1.       The Motion to Compel is GRANTED;

           2.       The Motion to Quash is DENIED;

           3.       Messrs. Ellington, Leventon, DiOrio, and Sevilla shall produce in response to the

Subpoenas documents in their possession, custody, and control, that are not duplicative of

documents in the Debtor’s possession, custody, and control, by no later than Friday, June 4, 2021;

           4.       Messrs. Ellington, Leventon, DiOrio, and Sevilla shall each sit for deposition

regarding the topics set forth in their respective Subpoenas by no later than Friday, June 11, 2021;

           5.       Counsel to the Former Employees will inform counsel to UBS no later than June 3,

2021 the date upon which Ms. Lucas will become available to produce documents and sit for a

deposition. Ms. Lucas will, within 14 days of the date she becomes available, produce documents



3
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion to Compel.
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responsive to the Subpoena in her possession, custody, and control that are not duplicative of

documents in the Debtor’s possession, custody, and control, and sit for a deposition regarding the

topics set forth in the Subpoena directed to her; and

       6.      Pursuant to Federal Rule of Civil Procedure 37, made applicable by Bankruptcy

Rule 7037, the Former Employees shall pay UBS’s reasonable expenses incurred in making the

Motion to Compel, including attorney’s fees.

                                      ### End of Order ###
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Order prepared by:

 LATHAM & WATKINS LLP

 By /s/ Andrew Clubok

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